
PER CURIAM.
James Walker (“defendant”) appeals the denial of his motion for postconviction relief pursuant to Florida Rule of Criminal Procedure 3.850. As correctly conceded by the State, the defendant’s sentence under Chapter 95-182 is illegal. See State v. Thompson, 750 So.2d 643 (Fla.1999). Therefore, we reverse the order denying postconviction relief and remand Walker’s case for resentencing. See Scruggs v. State, 761 So.2d 1265 (Fla. 3d DCA 2000); Higgs v. State, 761 So.2d 1227 (Fla. 3d DCA 2000).
*227Reversed and remanded for resentenc-ing.
